Case 1:19-cr-00253-TSE Document 386 Filed 08/21/20 Page 1 of 3 PageID# 1951




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

UNITED STATES OF AMERICA                  *
                                          *
      V.                                  *                Criminal No: 1:19-CR-00253-TSE
                                          *                Motions: 09/17/2020
JARED EDWARD JAUREQUI                     *                Trial: 01/19/2021
                                          *                Judge: T.S. Ellis, III
                        Defendant(s).     *
__________________________________________*

             MOTION FOR REVIEW AND RECONSIDERATION OF BOND
              WITH MEMORANDUM OF POINTS AND AUTHORITIES

       COMES NOW, Defendant, JARED EDWARD JAUREQUI, by and through, John O.

Iweanoge, II and THE IWEANOGES FIRM, PC, his attorneys, hereby moves this Honorable

Court for review and reconsideration of his bond pending trial pursuant to Title 18 United States

Code § 3142(f) and in support of this motion, defendant by and through counsel states:

       1.     That this Court issued a bench warrant for Mr. Jaurequi’s arrest for failure to

              appear for supervised release violation on July 9, 2020.

       2.     That Mr. Jaurequi was granted by this Court’s Order till July 20, 2020 to file a

              motion for reconsideration which was denied by this Court on July 23, 2020.

       3.     That subsequently, Mr. Jaurequi who was taken into custody in Las Vegas, NV by

              the US Marshals on July 17, 2020 is in custody at the Alexandria ADC.

       4.     That Mr. Jaurequi has requested in the past to participate in in-patient drug

              rehabilitation treatment. However, because his case is an Eastern District of

              Virginia case, the District of Nevada Pre-trial services were unable to place him in

              in-patient drug rehabilitation treatment which are reserved for Nevada cases.



                                               1
 Case 1:19-cr-00253-TSE Document 386 Filed 08/21/20 Page 2 of 3 PageID# 1952




       5.      That at this present time, Mr. Jaurequi who is in custody at the Alexandria ADC

               can avail himself of in-patient drug rehabilitation treatment offered through Pre-

               trial here in the Eastern District of Virginia.

       6.      That in the interest of Justice, Mr. Jaurequi respectfully request that the Court

               modify his bond and detention at the Alexandria ADC by ordering that he be

               placed in a bed-to-bed transfer to an in-patient drug rehabilitation treatment here

               in the Eastern District of Virginia through Pre-trial Services Agency.

       7.      That this bed-to-bed placement assures Mr. Jaurequi’s presence in the Eastern

               District of Virginia as well as his appearance for all future Court dates.

       8.      That Mr. Jaurequi is not a danger to the community nor has he been charged with

               a violent or dangerous offense in the case before this Honorable court.

       9.      Accordingly, the Supreme Court has observed that “[i]n our society liberty is the

               norm, and detention prior to trial or without trial is the carefully limited

               exception.” See United States v. Salerno, 481 U.S. 739, 747, 107 S.Ct. 2095, 2101

               (1987).

       10.     For such other and further relief as the nature of Defendant’s cause requires and

               this Court deems proper in the interest of Justice and Judicial economy.

       WHEREFORE, Defendant, JARED EDWARD JAUREQUI, prays this Honorable

Court for a bed-to-bed transfer placement in an in-patient drug rehabilitation treatment in the

Eastern District of Virginia through Pre-trial Services Agency and/or for another compelling

reason that will be posited at a hearing on this motion.




                                                  2
Case 1:19-cr-00253-TSE Document 386 Filed 08/21/20 Page 3 of 3 PageID# 1953




                                                         Respectfully submitted,

   THE IWEANOGES FIRM, PC                                Jared Edward Jaurequi
                                                         Defendant by Counsel
By: ____/S/JohnOIweanoge/S/______
    John O. Iweanoge, II
    IWEANOGE LAW CENTER
    1026 Monroe Street, NE
    Washington, D.C. 20017
    Phone: (202) 347-7026
    Fax:    (202) 347-7108
    Email: joi@iweanogesfirm.com
    Attorneys for Defendant




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 21st day of August, 2020, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system, which will then send a notification

of such filing (NEF) to the following:




Alexander P. Berrang, AUSA
Matthew Lamberti, Senior Counsel (US-DOJ)
United States Attorney’s Office
for the Eastern District of Virginia
2100 Jamieson Avenue
Alexandria, Virginia 22314




Dated: 21st day of August, 2020.                         ____/S/JohnOIweanoge/S/_________
                                                                 John O. Iweanoge, II



                                              3
